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 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                (Consolidated)

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                          WE INFORM LLC, ET AL.
                                                     DEFENDANTS-APPELLANTS.

 On Appeal from the Order and Memorandum of the United States District Court
            for the District of New Jersey dated November 26, 2024

                    APPELLANTS’ MOTION TO SEAL
              _________________________________________________
Angelo A. Stio III                    Marcel S. Pratt
Melissa A. Chuderewicz                Michael Berry
Stephanie L. Jonaitis                 Anna Kaul
TROUTMAN PEPPER LOCKE LLP             BALLARD SPAHR LLP
Suite 400, 301 Carnegie Center        1735 Market Street, 51st Floor
Princeton, NJ 08540                   Philadelphia, PA 19103-7599
(609) 452-0808                        (215) 864-8500
Angelo.Stio@troutman.com              prattm@ballardspahr.com
Melissa.Chuderewicz@troutman.com      berrym@ballardspahr.com
Stephanie.Jonaitis@troutman.com       kaula@ballardspahr.com

RocketReach LLC (No. 25-1582);        Attorneys for Defendants-Appellants
Deluxe Corp. (No. 25-1559);           Thomson Reuters Corporation,
PropertyRadar Inc.                    Thomson Reuters Canada Limited,
(No. 25-1584); and DM Group Inc.      Thomson Reuters Enterprise Centre
(No. 25-1558)                         GmbH, and West Publishing Corp.
                                      (No. 25-1570)


                  [Additional Counsel on Following Pages]
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Counsel Continued from Cover Page:

Robert T. Szyba                        Clair E. Wischusen
SEYFARTH SHAW LLP                      GORDON REES SCULLY MANSUKHANI
620 Eighth Avenue, 32nd Floor          LLP
New York, NY 10018                     291 W. Mt. Pleasant Avenue, Suite 3310
(212) 218-5500                         Livingston, NJ 070369
rszyba@seyfarth.com                    (973) 549-2500
                                       cwischusen@grsm.com
Attorneys for Defendants-Appellants
We Inform, LLC (No. 25-1555);          Attorneys for Defendants-Appellants
Infomatics, LLC (No. 25-1556); and     Quantarium Alliance, LLC and
The People Searchers, LLC              Quantarium Group, LLC (No. 25-1560)
(No. 25-1557)


Derek L. Shaffer                       Eric H. Lubin
QUINN EMANUEL URQUHART &               LOMURRO, MUNSON, LLC
SULLIVAN, LLP                          Monmouth Executive Center
1300 I Street NW, Suite 900            4 Paragon Way, Suite 100
Washington, D.C. 20005                 Freehold, NJ 07728
(202) 538-8000                         (732) 414-0300
derekshaffer@quinnemanuel.com          ELubin@lomurrolaw.com

-and-                                  Attorneys for Defendants-Appellants
                                       Digital Safety Products, LLC (No.
Owen B. Smitherman                     25-1562); Civil Data Research (No.
300 West 6th St, Suite 2010            25-1563); and Scalable Commerce &
Austin, TX 78701                       National Data Analytics (No. 25-1564)
(737) 667-6100
owensmitherman@quinnemanuel.com

Attorneys for Defendant-Appellant
Yardi Systems, Inc. (No. 25-1561)
       Case: 25-1555    Document: 23   Page: 3   Date Filed: 04/14/2025




Ryan J. Cooper                         Jill A. Guldin
Renier Pierantoni                      PIERSON FERDINAND LLP
COOPER, LLC – COUNSELORS AT LAW        100 Overlook Center, 2nd Floor
108 N. Union Ave., Suite 4             Princeton, NJ 08540
Cranford, NJ 07016                     (856) 896-409
ryan@cooperllc.com                     jill.guldin@pierferd.com
renier@cooperllc.com
                                       -and –
Attorneys for Defendant-Appellant
Labels & Lists, Inc. (No. 25-1565)     Jason A. Spak
                                       FISHERBROYLES LLP
                                       6360 Broad Street #5262
                                       Pittsburgh, PA 15206
                                       (412) 401-2000
                                       jason.spak@fisherbroyles.com

                                       Attorneys for Defendant-Appellant
                                       Innovis Data Solutions, Inc.
                                       (No. 25-1566)



John E. MacDonald                      Samantha L. Southall
CONSTANGY, BROOKS, SMITH &             BUCHANAN INGERSOLL & ROONEY PC
PROPHETE, LLP                          Two Liberty Place
3120 Princeton Pike, Suite 301         50 S. 16th Street, Suite 3200
Lawrenceville, NJ 08648                Philadelphia, PA 19102-2555
(609) 454-0096                         (215) 665-3800
jmacdonald@constangy.com               samantha.southall@bipc.com

Attorneys for Defendants-Appellants    Attorneys for Defendants-Appellants
Accurate Append, Inc. (No. 25-1567);   Zillow Inc. and Zillow Group, Inc.
and Restoration of America, Inc. and   (No. 25-1568)
Voter Reference Foundation, LLC
(No. 25-1572)
       Case: 25-1555   Document: 23   Page: 4   Date Filed: 04/14/2025




Frederick W. Alworth                   Michael P. O’Mullan
Kevin R. Reich                         RIKER DANZIG LLP
GIBBONS P.C.                           Headquarters Plaza
One Gateway Center                     One Speedwell Avenue
Newark, NJ 07102-5310                  Morristown, NJ 07962
(973) 596-4500                         (973) 451-8477
falworth@gibbonslaw.com                momullan@riker.com
kreich@gibbonslaw.com
                                       Attorneys for Defendant-Appellant
Attorneys for Defendant-Appellant      Melissa Data Corporation
Equimine, Inc. (No. 25-1569)           (No. 25-1571)



Richard J.L. Lomuscio                  David E. Sellinger
STINSON LLP                            Aaron Van Nostrand
100 Wall Street, Suite 201             GREENBERG TRAURIG LLP
New York, NY 10005                     500 Campus Drive, Suite 400
(646) 883-7471                         Florham Park, NJ 07932-0677
richard.lomuscio@stinson.com           (973) 443-3557
                                       sellingerd@gtlaw.com
Attorneys for Defendant-Appellant      vannostranda@gtlaw.com
i360, LLC (No. 25-1573)
                                       Attorneys for Defendants-Appellants
                                       GoHunt, LLC, GoHunt Management
                                       Holdings, LLC, and GoHunt
                                       Management Holdings II, LLC
                                       (No. 25-1574)
        Case: 25-1555   Document: 23   Page: 5   Date Filed: 04/14/2025




Kelly M. Purcaro                        Matthew S. AhKao
Kory Ann Ferro                          LEWIS BRISBOIS BISGAARD & SMITH,
GREENSPOON MARDER                       LLP
One Riverfront Plaza                    One Riverfront Plaza, Suite 800
1037 Raymond Blvd., Suite 900           Newark, NJ 07102
Newark, NJ 07102                        (973) 577-6260
(732) 456-8746                          Matthew.AhKao@lewisbrisbois.com
Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 Attorneys for Defendant-Appellant
                                        Synaptix Technology, LLC
-and-
                                        (No. 25-1576)
Jennifer Fiorica Delgado
LOWENSTEIN SANDLER LLP
One Lowenstein Drive
Roseland, NJ 07068
(646) 414-6962
jdelgado@lowenstein.com

Attorneys for Defendant-Appellant
AccuZip, Inc. (No. 25-1575)


Kelly M. Purcaro                        J. Timothy McDonald
Kory Ann Ferro                          THOMPSON HINE LLP
GREENSPOON MARDER                       Two Alliance Center
One Riverfront Plaza                    3560 Lenox Road, Suite 1600
1037 Raymond Blvd., Suite 900           Atlanta, GA 30326
Newark, NJ 07102                        (404) 541-2906
(732) 456-8746                          Tim.McDonald@ThompsonHine.com
Kelly.Purcaro@gmlaw.com
                                        -and-
KoryAnn.Ferro@gmlaw.com
                                     Steven G. Stransky
Attorneys for Defendant-Appellant    (admission pending)
Joy Rockwell Enterprises, Inc. d/b/a 127 Public Square, #3900
PostcardMania PCM LLC (No. 25-1577) Cleveland, OH 44114
                                     (216) 566-5500
                                     Steve.Stransky@ThompsonHine.com

                                        Attorneys for Defendant-Appellant
                                        Fortnoff Financial, LLC (No. 25-1578)
       Case: 25-1555   Document: 23    Page: 6   Date Filed: 04/14/2025




Clair E. Wischusen                     H. Mark Stichel
GORDON REES SCULLY MANSUKHANI RKW, LLC
LLP                                    10075 Red Run Blvd., 4th Floor
MANSUKHANI LLP                         Owings Mills, MD 21117
291 W. Mt. Pleasant Avenue, Suite 3310 (443) 379-8987
Livingston, NJ 07039                   HMStichel@RKWlawgroup.com
(973) 549-2500
cwischusen@grsm.com                    Attorneys for Defendant-Appellant
                                       E-Merges.com, Inc. (No. 25-1580)
Attorneys for Defendant-Appellant
Nuwber, Inc. (No. 25-1581)



Kelly M. Purcaro                        Stephen M. Orlofsky
Kory Ann Ferro                          Philip N. Yannella
GREENSPOON MARDER                       Thomas P. Cialino
One Riverfront Plaza                    BLANK ROME LLP
1037 Raymond Blvd., Suite 900           300 Carnegie Center, Suite 220
Newark, NJ 07102                        Princeton, NJ 08540
(732) 456-8746                          (609) 750-2646
Kelly.Purcaro@gmlaw.com                 Stephen.Orlofsky@BlankRome.com
KoryAnn.Ferro@gmlaw.com                 Philip.Yannella@BlankRome.com
                                        Thomas.Cialino@BlankRome.com
Attorneys for Defendant-Appellant
The Alesco Group, L.L.C. (improperly    Attorneys for Defendant-Appellant
pled as Alesco AI, LLC, Alesco          Belles Camp Communications, Inc.
Marketing Solutions, L.L.C., Stat       (No. 25-1583)
Resource Group Inc., and Response
Solutions Group, LLC) (No. 25-1585)
       Case: 25-1555   Document: 23    Page: 7   Date Filed: 04/14/2025




Kelly M. Purcaro                        Kelly M. Purcaro
Kory Ann Ferro                          Kory Ann Ferro
GREENSPOON MARDER                       GREENSPOON MARDER
One Riverfront Plaza                    One Riverfront Plaza
1037 Raymond Blvd., Suite 900           1037 Raymond Blvd., Suite 900
Newark, NJ 07102                        Newark, NJ 07102
(732) 456-8746                          (732) 456-8746
Kelly.Purcaro@gmlaw.com                 Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 KoryAnn.Ferro@gmlaw.com

Attorneys for Defendant-Appellant       Attorneys for Defendant-Appellant
Amerilist, Inc. (No. 25-1587)           Searchbug, Inc. (No. 25-1586)



Kenneth D. Friedman                     Kelly M. Purcaro
MANATT, PHELPS & PHILLIPS, LLP          Kory Ann Ferro
7 Times Square                          GREENSPOON MARDER
New York, NY 10036                      One Riverfront Plaza
(212) 790-4500                          1037 Raymond Blvd., Suite 900
kfriedman@manatt.com                    Newark, NJ 07102
                                        (732) 456-8746
Attorneys for Defendant-Appellant       Kelly.Purcaro@gmlaw.com
Smarty, LLC d/b/a SmartyStreets, LLC    KoryAnn.Ferro@gmlaw.com
(No. 25-1589)
                                        Attorneys for Defendant-Appellant
                                        US Data Corporation (No. 25-1588)
        Case: 25-1555   Document: 23   Page: 8   Date Filed: 04/14/2025




Kelly M. Purcaro                        Jared K. Levy
Kory Ann Ferro                          WOOD, SMITH, HENNING & BERMAN
GREENSPOON MARDER                       LLP
One Riverfront Plaza                    400 Connell Drive, Suite 1100
1037 Raymond Blvd., Suite 900           Berkeley Heights, NJ 07922
Newark, NJ 07102                        (973) 265-9901
(732) 456-8746                          jlevy@wshblaw.com
Kelly.Purcaro@gmlaw.com
KoryAnn.Ferro@gmlaw.com                 Attorneys for Defendants-Appellants
                                        Compact Information Systems, LLC,
-and-                                   Accudata Integrated Marketing, Inc.,
                                        Alumnifinder, ASL Marketing, Inc.,
RAJ FERBER PLLC                         College Bound Selection Services,
Kiran Raj                               Deepsync Labs, Homedata, and Student
1629 K Street NW, Suite 300             Research Group (No. 25-1590)
Washington, DC 20006
(202) 827-9785
kiran@rajferber.com

Attorneys for Defendant-Appellant
DarkOwl, LLC (No. 25-1591)



Ronald L. Davison                       Christopher Nucifora
STARR, GERN, DAVISON & RUBIN, P.C.      Timothy M. Ortolani
105 Eisenhower Parkway, Suite 401       KAUFMAN DOLOWICH LLP
Roseland, NJ 07068-1640                 Court Plaza North
(973) 403-9200                          25 Main Street, Suite 500
rdavison@starrgern.com                  Hackensack, NJ 07601
                                        (201) 708-8207
Attorneys for Defendant-Appellant       cnucifora@kaufmandolowich.com
Lighthouse List Company, LLC            tortolani@kaufmandolowich.com
(No. 25-1593)
                                        Attorneys for Defendant-Appellant Spy
                                        Dialer, Inc. (No. 25-1592)
        Case: 25-1555    Document: 23   Page: 9   Date Filed: 04/14/2025




Jared M. Wichnovitz                      William Wendell Cheney, III
LAW OFFICES OF JARED M.                  Andrew W. Sheppard
WICHNOVITZ, P.C.                         FREEMAN MATHIS & GARY, LLP
50 Harrison Street, Suite 206            3 Executive Campus, Suite 350
P.O. Box 631                             Cherry Hill, NJ 08002
Hoboken, NJ 07030                        (856) 406-1268, 1262
(732) 765-2157                           wcheney@fmglaw.com
jared@wichnovitzlaw.com                  Andrew.sheppard@fmglaw.com

Attorney for Defendant-Appellant         Attorney for Defendant-Appellant
Greenlight Venture Corp.                 First Direct, Inc. (No. 25-1676)
(No. 25-1677)
        Case: 25-1555    Document: 23     Page: 10     Date Filed: 04/14/2025




                      APPELLANTS’ MOTION TO SEAL

      Pursuant to Federal Rule of Appellate Procedure 27(a) and the Third Circuit

Local Appellate Rule 106.1, Appellants We Inform LLC et al. respectfully request

an order sealing Volume 4 of the Joint Appendix. Local Appellate Rule 30.3(b)

requires materials that were “sealed in the district court and not unsealed by order

of the court [to] be filed as a separate docket entry as a sealed volume.” The

materials contained in Volume 4 of the Joint Appendix (the “Relevant

Information”) were filed and maintained under seal in the underlying litigation. See

Atlas Data Privacy Corporation et al. v. Lightbox Parent, L.P. et al., No. 1:24-cv-

04105 (D.N.J.).

      Specifically, the Relevant Information was filed under seal with Defendants’

Motion to Dismiss. Docket No. 27 (D.N.J., June 10, 2024).1 Thereafter, Plaintiffs

filed a Motion to Seal Materials Pursuant to Local Civil Rule 5.3(c), asking the

District Court to keep the Relevant Information under seal. Docket No. 59 (D.N.J.,

Sept. 27, 2024). The District Court has not yet issued a ruling on the Motion to




1
  While the Motion to Dismiss, which is the subject of this appeal, was only filed in
Lightbox Parent, the other appellants/defendants that have been consolidated in
this appeal filed joinder letters in their respective district court cases. See, e.g.,
Atlas Data Privacy Corporation et al. v. We Inform, LLC et al., No. 1:24-cv-
10600, Docket No. 20 (D.N.J., June 11, 2024).


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Seal. The Relevant Information has remained under seal and is still under seal on

the District Court docket today.

      Accordingly, Appellants respectfully request for this Court to maintain

Volume 4 of the Joint Appendix under seal until such time as these documents are

unsealed in the District Court.



Dated: April 14, 2025              TROUTMAN PEPPER LOCKE LLP
                                   /s/ Angelo A. Stio III
                                   Angelo A. Stio III
                                   Melissa A. Chuderewicz
                                   Stephanie L. Jonaitis
                                   Suite 400
                                   301 Carnegie Center
                                   Princeton, NJ 08540-6227
                                   (609) 951-4125
                                   Angelo.Stio@troutman.com
                                   Melissa.Chuderewicz@troutman.com
                                   Stephanie.Jonaitis@troutman.com

                                   Attorneys for Defendant-Appellant
                                   RocketReach LLC (No. 25-1582)


                                   BALLARD SPAHR LLP

                                   /s/ Michael Berry
                                   Marcel S. Pratt
                                   Michael Berry
                                   Anna Kaul
                                   1735 Market Street, 51st Floor
                                   Philadelphia, PA 19103-7599
                                   (215) 864-8500
                                   prattm@ballardspahr.com
                                   berrym@ballardspahr.com

                                        2
Case: 25-1555   Document: 23   Page: 12   Date Filed: 04/14/2025




                         kaula@ballardspahr.com

                         Attorneys for Defendants-Appellants
                         Thomson Reuters Corporation, Thomson
                         Reuters Canada Limited, Thomson Reuters
                         Enterprise Centre GmbH, and West Publishing
                         Corporation (No. 25-1570)

                         TROUTMAN PEPPER LOCKE LLP

                         /s/ Angelo A. Stio III
                         Angelo A. Stio III
                         Melissa A. Chuderewicz
                         Stephanie L. Jonaitis
                         Suite 400
                         301 Carnegie Center
                         Princeton, NJ 08540-6227
                         (609) 951-4125
                         Angelo.Stio@troutman.com
                         Melissa.Chuderewicz@troutman.com
                         Stephanie.Jonaitis@troutman.com

                         Attorneys for Defendant-Appellant
                         PropertyRadar Inc. (No. 25-1584)




                               3
Case: 25-1555   Document: 23   Page: 13   Date Filed: 04/14/2025




                         TROUTMAN PEPPER LOCKE LLP

                         /s/ Angelo A. Stio III
                         Angelo A. Stio III
                         Melissa A. Chuderewicz
                         Stephanie L. Jonaitis
                         Suite 400
                         301 Carnegie Center
                         Princeton, NJ 08540-6227
                         (609) 951-4125
                         Angelo.Stio@troutman.com
                         Melissa.Chuderewicz@troutman.com
                         Stephanie.Jonaitis@troutman.com

                         Attorneys for Defendant-Appellant
                         DM Group Inc. (No. 25-1558)

                         SEYFARTH SHAW LLP

                         /s/ Robert T. Szyba
                         Robert T. Szyba
                         620 Eighth Avenue, 32nd Floor
                         New York, NY 10018
                         (212) 218-5500
                         rszyba@seyfarth.com

                         Attorneys for Defendants-Appellants
                         We Inform, LLC (No. 25-1555);
                         Infomatics, LLC (No. 25-1556); and
                         The People Searchers, LLC (No. 25-1557)




                               4
Case: 25-1555   Document: 23     Page: 14   Date Filed: 04/14/2025




                         GORDON REES SCULLY
                         MANSUKHANI LLP

                         /s/ Clair E. Wischusen
                         Clair E. Wischusen
                         291 W. Mt. Pleasant Avenue, Suite 3310
                         Livingston, NJ 070369
                         (973) 549-2500
                         cwischusen@grsm.com

                         Attorneys for Defendants-Appellants
                         Quantarium Alliance, LLC and Quantarium
                         Group, LLC (No. 25-1560)

                         QUINN EMANUEL URQUHART &
                         SULLIVAN, LLP

                         /s/ Derek L. Shaffer
                         Derek L. Shaffer
                         1300 I Street NW, Suite 900
                         Washington, D.C. 20005
                         (202) 538-8000
                         derekshaffer@quinnemanuel.com

                         -and-

                         Owen B. Smitherman
                         300 West 6th St, Suite 2010
                         Austin, TX 78701
                         (737) 667-6100
                         owensmitherman@quinnemanuel.com

                         Attorneys for Defendant-Appellant
                         Yardi Systems, Inc. (No. 25-1561)




                                 5
Case: 25-1555   Document: 23   Page: 15   Date Filed: 04/14/2025




                           LOMURRO, MUNSON, LLC

                           /s/ Eric H. Lubin
                           Eric H. Lubin
                           Monmouth Executive Center
                           4 Paragon Way, Suite 100
                           Freehold, NJ 07728
                           (732) 414-0300
                           ELubin@lomurrolaw.com

                           Attorneys for Defendants-Appellants
                           Digital Safety Products, LLC (No. 25-1562);
                           Civil Data Research (No. 25-1563); and
                           Scalable Commerce & National Data
                           Analytics (No. 25-1564)

                           COOPER, LLC – COUNSELORS AT
                           LAW

                           /s/ Ryan J. Cooper
                           Ryan J. Cooper
                           Renier Pierantoni
                           108 N. Union Ave., Suite 4
                           Cranford, NJ 07016
                           ryan@cooperllc.com
                           renier@cooperllc.com

                           Attorneys for Defendant-Appellant
                           Labels & Lists, Inc. (No. 25-1565)




                               6
Case: 25-1555   Document: 23   Page: 16   Date Filed: 04/14/2025




                           PIERSON FERDINAND LLP

                           /s/ Jill A. Guldin
                           Jill A. Guldin
                           100 Overlook Center, 2nd Floor
                           Princeton, NJ 08540
                           (856) 896-409
                           jill.guldin@pierferd.com

                           -and –

                           FISHERBROYLES LLP

                           Jason A. Spak
                           6360 Broad Street #5262
                           Pittsburgh, PA 15206
                           (412) 401-2000
                           jason.spak@fisherbroyles.com

                           Attorneys for Defendant-Appellant
                           Innovis Data Solutions, Inc. (No. 25-1566)

                           CONSTANGY, BROOKS, SMITH &
                           PROPHETE, LLP

                           /s/ John E. MacDonald
                           John E. MacDonald
                           3120 Princeton Pike, Suite 301
                           Lawrenceville, NJ 08648
                           (609) 454-0096
                           jmacdonald@constangy.com

                           Attorneys for Defendants-Appellants
                           Accurate Append, Inc. (No. 25-1567); and
                           Restoration of America, Inc. and Voter
                           Reference Foundation, LLC (No. 25-1572)




                               7
Case: 25-1555   Document: 23   Page: 17    Date Filed: 04/14/2025




                         BUCHANAN INGERSOLL & ROONEY PC

                         /s/ Samantha L. Southall
                         Samantha L. Southall
                         Two Liberty Place
                         50 S. 16th Street, Suite 3200
                         Philadelphia, PA 19102-2555
                         (215) 665-3800
                         samantha.southall@bipc.com

                         Attorneys for Defendants-Appellants Zillow Inc.
                         and Zillow Group, Inc. (No. 25-1568)

                         GIBBONS P.C.

                         /s/ Frederick W. Alworth
                         Frederick W. Alworth
                         Kevin R. Reich
                         One Gateway Center
                         Newark, NJ 07102-5310
                         (973) 596-4500
                         falworth@gibbonslaw.com
                         kreich@gibbonslaw.com

                         Attorneys for Defendant-Appellant
                         Equimine, Inc. (No. 25-1569)




                               8
Case: 25-1555   Document: 23   Page: 18   Date Filed: 04/14/2025




                           RIKER DANZIG LLP

                           /s/ Michael P. O’Mullan
                           Michael P. O’Mullan
                           Headquarters Plaza
                           One Speedwell Avenue
                           Morristown, NJ 07962
                           (973) 451-8477
                           momullan@riker.com

                           Attorneys for Defendant-Appellant
                           Melissa Data Corporation (No. 25-1571)

                           STINSON LLP

                           /s/ Richard J.L. Lomuscio
                           Richard J.L. Lomuscio
                           100 Wall Street, Suite 201
                           New York, NY 10005
                           (646) 883-7471
                           richard.lomuscio@stinson.com

                           Attorneys for Defendant-Appellant
                           i360, LLC (No. 25-1573)




                               9
Case: 25-1555   Document: 23   Page: 19   Date Filed: 04/14/2025




                           GREENBERG TRAURIG, LLP

                           /s/ David E. Sellinger
                           David E. Sellinger
                           Aaron Van Nostrand
                           500 Campus Drive, Suite 400
                           Florham Park, NJ 07932-0677
                           (973) 443-3557
                           sellingerd@gtlaw.com
                           vannostranda@gtlaw.com

                           Attorneys for Defendants-Appellants
                           GoHunt, LLC, GoHunt Management
                           Holdings, LLC, and GoHunt Management
                           Holdings II, LLC (No. 25-1574)

                           GREENSPOON MARDER

                           /s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com
                           -and-
                           LOWENSTEIN SANDLER LLP

                           /s/ Jennifer Fiorica Delgado
                           Jennifer Fiorica Delgado
                           One Lowenstein Drive
                           Roseland, NJ 07068
                           (646) 414-6962
                           jdelgado@lowenstein.com

                           Attorneys for Defendant-Appellant
                           AccuZip, Inc. (No. 25-1575)

                               10
Case: 25-1555   Document: 23     Page: 20   Date Filed: 04/14/2025




                           LEWIS BRISBOIS BISGAARD &
                           SMITH, LLP

                           /s/ Matthew S. AhKao
                           Matthew S. AhKao
                           One Riverfront Plaza, Suite 800
                           Newark, NJ 07102
                           (973) 577-6260
                           Matthew.AhKao@lewisbrisbois.com

                           Attorneys for Defendant-Appellant
                           Synaptix Technology, LLC (No. 25-1576)

                           GREENSPOON MARDER

                           /s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           Joy Rockwell Enterprises, Inc. d/b/a
                           PostcardMania PCM LLC (No. 25-1577)

                               THOMPSON HINE LLP

                               /s/ J. Timothy McDonald
                               J. Timothy McDonald
                               Two Alliance Center
                               3560 Lenox Road, Suite 1600
                               Atlanta, Georgia 30326
                               (404) 541-2906
                               Tim.McDonald@ThompsonHine.com

                               -and-

                                11
Case: 25-1555   Document: 23     Page: 21    Date Filed: 04/14/2025




                               Steven G. Stransky (application for
                               admission pending)
                               127 Public Square, #3900
                               Cleveland, OH 44114
                               (216) 566-5500
                               Steve.Stransky@ThompsonHine.com

                               Attorneys for Defendant-Appellant
                               Fortnoff Financial, LLC (No. 25-1578)

                               RKW, LLC

                               /s/ H. Mark Stichel
                               H. Mark Stichel
                               10075 Red Run Blvd., 4th Floor
                               Owings Mills, MD 21117
                               (443) 379-8987
                               HMStichel@RKWlawgroup.com

                               Attorneys for Defendant-Appellant
                               E-Merges.com, Inc. (No. 25-1580)

                               GORDON REES SCULLY
                               MANSUKHANI LLP

                               /s/ Clair E. Wischusen
                               Clair E. Wischusen
                               291 W. Mt. Pleasant Avenue, Suite 3310
                               Livingston, NJ 07039
                               (973) 549-2500
                               cwischusen@grsm.com

                               Attorneys for Defendant-Appellant
                               Nuwber, Inc. (No. 25-1581)




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                           BLANK ROME LLP

                           /s/ Stephen M. Orlofsky
                           Stephen M. Orlofsky
                           Philip N. Yannella
                           Thomas P. Cialino
                           300 Carnegie Center, Suite 220
                           Princeton, NJ 08540
                           (609) 750-2646
                           Stephen.Orlofsky@BlankRome.com
                           Philip.Yannella@BlankRome.com
                           Thomas.Cialino@BlankRome.com

                           Attorneys for Defendant-Appellant
                           Belles Camp Communications, Inc.
                           (No. 25-1583)

                           GREENSPOON MARDER

                           /s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           The Alesco Group, L.L.C. (improperly pled
                           as Alesco AI, LLC, Alesco Marketing
                           Solutions, L.L.C., Stat Resource Group Inc.,
                           and Response Solutions Group, LLC)
                           (No. 25-1585)




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                           GREENSPOON MARDER

                           /s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           Searchbug, Inc. (No. 25-1586)

                           GREENSPOON MARDER

                           /s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           Amerilist, Inc. (No. 25-1587)




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                           GREENSPOON MARDER

                           /s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com

                           Attorneys for Defendant-Appellant
                           US Data Corporation (No. 25-1588)

                           MANATT, PHELPS & PHILLIPS, LLP

                           /s/ Kenneth D. Friedman
                           Kenneth D. Friedman
                           7 Times Square
                           New York, NY 10036
                           (212) 790-4500
                           kfriedman@manatt.com

                           Attorneys for Defendant-Appellant
                           Smarty, LLC d/b/a SmartyStreets, LLC
                           (No. 25-1589)




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                           WOOD, SMITH, HENNING &
                           BERMAN LLP

                           /s/ Jared K. Levy
                           Jared K. Levy
                           400 Connell Drive, Suite 1100
                           Berkeley Heights, NJ 07922
                           (973) 265-9901
                           jlevy@wshblaw.com

                           Attorneys for Defendants-Appellants
                           Compact Information Systems, LLC,
                           Accudata Integrated Marketing, Inc.,
                           Alumnifinder, ASL Marketing, Inc., College
                           Bound Selection Services, Deepsync Labs,
                           Homedata, and Student Research Group
                           (No. 25-1590)

                           GREENSPOON MARDER

                           /s/ Kelly M. Purcaro
                           Kelly M. Purcaro
                           Kory Ann Ferro
                           One Riverfront Plaza
                           1037 Raymond Blvd., Suite 900
                           Newark, NJ 07102
                           (732) 456-8746
                           Kelly.Purcaro@gmlaw.com
                           KoryAnn.Ferro@gmlaw.com
                           -and-
                           RAJ FERBER PLLC
                           Kiran Raj
                           1629 K Street NW, Suite 300
                           Washington, DC 20006
                           (202) 827-9785
                           kiran@rajferber.com

                           Attorneys for Defendant-Appellant
                           DarkOwl, LLC (No. 25-1591)

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                           KAUFMAN DOLOWICH LLP

                           /s/ Christopher Nucifora
                           Christopher Nucifora
                           Timothy M. Ortolani
                           Court Plaza North
                           25 Main Street, Suite 500
                           Hackensack, NJ 07601
                           (201) 708-8207
                           cnucifora@kaufmandolowich.com
                           tortolani@kaufmandolowich.com

                           Attorneys for Defendant-Appellant Spy
                           Dialer, Inc. (No. 25-1592)

                           STARR, GERN, DAVISON & RUBIN,
                           P.C.

                           /s/ Ronald L. Davison
                           Ronald L. Davison
                           105 Eisenhower Parkway, Suite 401
                           Roseland, NJ 07068-1640
                           (973) 403-9200
                           rdavison@starrgern.com

                           Attorneys for Defendant-Appellant Light-
                           house List Company, LLC (No. 25-1593)

                           FREEMAN MATHIS & GARY, LLP

                           /s/ William Wendell Cheney, III
                           William Wendell Cheney, III
                           Andrew W. Sheppard
                           3 Executive Campus, Suite 350
                           Cherry Hill, NJ 08002
                           (856) 406-1268, 1262
                           wcheney@fmglaw.com
                           Andrew.sheppard@fmglaw.com

                           Attorney for Defendant-Appellant
                           First Direct, Inc. (No. 25-1676)



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                           LAW OFFICES OF JARED M.
                           WICHNOVITZ, P.C.

                           /s/ Jared M. Wichnovitz
                           Jared M. Wichnovitz
                           50 Harrison Street, Suite 206
                           P.O. Box 631
                           Hoboken, NJ 07030
                           (732) 765-2157
                           jared@wichnovitzlaw.com

                           Attorney for Defendant-Appellant
                           Greenlight Venture Corp. (No. 25-1677)




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                         CERTIFICATE OF COMPLIANCE

                Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure,

and Local Appellate Rule 31.1, I hereby certify that:

        1.      The foregoing Motion complies with the type-volume limitation of

Fed. R. App. P. 32(a)(7)(B), because, according to the word count of the word-

processing system used to prepare the brief, the brief contains 278 words;

        2.      The foregoing Motion complies with the typeface requirements of

Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced typeface using

Microsoft Office Word in 14-point Times New Roman font;

        3.      The text of the electronic brief and the text of the paper copies filed

with the Clerk are identical; and

        4       The PDF file of this brief has undergone a virus check using Windows

Defender Advanced Threat Protection Antivirus, Version 1.427.113.0 (last updated

April 7, 2025), and no virus was detected.

        This 14th day of April, 2025.

                                                         /s/ Angelo A. Stio III
                                                         Angelo A. Stio III




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                     CERTIFICATION OF BAR ADMISSION

        Pursuant to L.A.R. 46.1, I hereby certify that at least one of the attorneys

whose names appear on this brief is a member of the bar of this Court.



                                                /s/ Angelo A. Stio III
                                                Angelo A. Stio III




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                           CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of April, 2025, I caused a true and

correct copy of this Motion to be served via ECF upon the following:

 Kathleen B. Einhorn, Esq.                Kashif T. Chand, Esq.
 Jessica A. Merejo, Esq.                  Office of Attorney General of New Jersey
 Rajiv D. Parikh, Esq.                    124 Halsey Street
 PEM Law                                  5th Floor
 1 Boland Drive                           Newark, NJ 07102
 Suite 101                                Kashif.chand@law.njoag.gov
 West Orange, NJ 07052
 rparikh@pemlaw.com                       Liza B. Fleming, Esq.
 keinhorn@pemlaw.com                      Michael L. Zuckerman, Esq.
 jmerejo@pemlaw.com                       Office of Attorney General of New Jersey
                                          Division of Law
 Mark C. Mao, Esq.                        25 Market Street
 Boies Schiller Flexner                   Hughes Justice Complex
 44 Montgomery Street                     Trenton, NJ 08625
 41st Floor                               Liza.Fleming@njoag.gov
 San Francisco, CA 94104                  Michael.Zuckerman@njoag.gov
 mmao@bsfllp.com
                                          Counsel for Intervenor Attorney General of
 Eric M. Palmer, Esq.                     New Jersey
 Boies Schiller Flexner
 401 E Las Olas Boulevard
 Suite 1200
 Fort Lauderdale, FL 33301
 epalmer@bsfllp.com

 Samantha D. Parrish, Esq.
 Boies Schiller Flexner
 2029 Century Park East
 Suite 1520
 Los Angeles, CA 90067
 sparrish@bsfllp.com




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 Adam R. Shaw, Esq.
 Boies Schiller Flexner
 30 S Pearl Street
 12th Floor
 Albany, NY 12207
 ashaw@bsfllp.com

 Counsel for Plaintiffs-Appellees




                                            /s/ Angelo A. Stio III
                                            Angelo A. Stio III




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